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                             UNITED STATE DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


KATE MCKINLEY,

                       Plaintiff,                 Civil Action No.: 3:22-cv-5069

       vs.
                                                                   CIVIL ACTION
PRINCETON UNIVERSITY, JOHN DOES 1-
10 (said names being fictitious, real names
unknown) and ABC ENTITIES 1-10 (said                COMPLAINT WITH JURY DEMAND
names being fictitious, real names unknown),

                       Defendant(s)



       Plaintiff, KATE MCKINLEY (“Plaintiff”), by and through her undersigned counsel, files

this Complaint and Jury Demand against Defendants PRINCETON UNIVERSITY, JOHN DOES

1-10 (said names being fictitious, real names unknown) and ABC ENTITIES 1-10 (said names

being fictitious, real names unknown), hereby allege as follows:

                               NATURE OF THE CLAIMS
   1. This is an action for monetary relief to redress Defendants’ unlawful employment practices

against Plaintiff, including its discriminatory treatment and harassment of Plaintiff due to her

religion and its unlawful retaliation against her after she complained about unlawful discrimination

in the workplace in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et

seq. (“Title VII”), the New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 et seq.

(“NJLAD”), and the Genetic Information Nondiscrimination Act, 42 U.S.C. §2000ff et seq.

(“GINA”).
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                                 JURISDICTIONAL STATEMENT


    2. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343 as this

action involves federal questions regarding the deprivation of Plaintiff’s rights under Title VII and

GINA. The Court has supplemental jurisdiction over Plaintiff’s related claims arising under state

and local law pursuant to 28 U.S.C. § 1367(a).

    3. Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) because a substantial part

of the events or omissions giving rise to this action, including the unlawful employment practices

alleged herein, occurred in this district.

                                ADMINISTRATIVE PROCEDURES

    4. Prior to the filing of this Complaint, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”), alleging violations of Title VII. Plaintiff’s

EEOC charges arise out of many of the same facts alleged herein.

    5. On or about May 19, 2022, Plaintiff received the notice of right to sue issued by the EEOC

in connection with the previously filed charge of discrimination. This Complaint has been filed

within 90 days of Plaintiff’s receipt of her notice of right to sue from the EEOC.

    6. Any and all prerequisites to the filing of this suit have been met.

                                               PARTIES

    7. Plaintiff resides in Ewing, New Jersey and is a former employee of Defendant

PRINCETON UNIVERSITY. At all relevant times, Plaintiff was a resident of the State of New

Jersey and met the definition of an “employee” under all applicable statutes at the time of her

employment.

    8. Upon information and belief, Defendant PRINCETON UNIVERSITY, is an educational

university in the State of New Jersey, which had the Plaintiff in its employ during the relevant time
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periods herein. At all relevant times, Defendant has met the definition of an “employer” under all

applicable statutes.

   9. At all times relevant hereto, JOHN DOES 1-10 (said names being fictitious, real names

unknown) are fictitious names used to identify those individuals which names are presently

unknown that engaged in wrongful acts outlined herein and their identities are presently unknown.

   10. At all times relevant hereto, ABC ENTITIES 1-10 (said names being fictitious, real names

unknown) are fictitious names used to identify those companies which names are presently

unknown that engaged in wrongful acts outlined herein and their identities are presently unknown.

                                        STATEMENT OF FACTS

   11. Plaintiff is a female and former employee of Defendant PRINCETON UNIVERSITY.

   12. On or about May 17, 2017, defendant PRINCETON UNIVERSITY hired Plaintiff as a

Budget Analyst.

   13. On or about June 8, 2021, Defendant informed Plaintiff that the COVID-19 vaccination

would be a required condition for employment.

   14. On or about July 19, 2021, Defendant provided Plaintiff with a religious exemption to the

COVID-19 vaccination.

   15. On or about August 18, 2021, Plaintiff requested an accommodation to be exempt from

Defendant’s COVID-19 policies which included asymptomatic testing, mask requirements, and

digital contact tracing due to her religious beliefs.

   16. On or about August 22, 2021, pursuant to Defendant’s request for additional information,

Plaintiff provided said information via email to Romy Riddick from Human Resources.
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    17. Upon information and belief, Defendant’s asymptomatic testing was required for all

employees, regardless of vaccination status, and the saliva samples collecting prohibited genetic

information were taken every week

    18. Due to Plaintiff’s religious beliefs, she remained unvaccinated for COVID-19 and objected

to Defendant’s COVID-19 policies.

    19. On or about September 3, 2021, Plaintiff’s request for an accommodation was denied.

    20. On or about September 10, 2021, Plaintiff filed a complaint of discrimination with the

Equal Employment Opportunity Commission (“EEOC”) against Defendant, Charge #524-2021-

01400.

    21. On or about September 16, 2021, Plaintiff was terminated by Defendant.

    22. On or about May 19, 2022, Plaintiff received the Right to Sue Letter for Charge # 524-

2021-01400.

    23. Due to Plaintiff’s termination, she has suffered mental anguish and economic damages.


                                     FIRST CAUSE OF ACTION

                     VIOLATION OF TITLE VII—RELIGIOUS DISCRIMINATION

    24. Plaintiff hereby repeats and realleges the allegations in each of the preceding paragraphs

as if fully set forth herein.

    25. During the course of Plaintiff’s employment with Defendant PRINCETON UNIVERSITY,

the Defendant, by and through its agents and employees, discriminated against the Plaintiff in the

terms, conditions, and privileges of employment in various ways, in substantial part because of her

religion, in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e et. Seq.
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    26. Plaintiff complained to her supervisors and spoke with her employer about the

discrimination and harassment, and Defendant PRINCETON UNIVERSITY had actual or

constructive knowledge of the ongoing discrimination and harassment.

    27. Defendant PRINCETON UNIVERSITY failed to take prompt and appropriate remedial

action to prevent or correct further discrimination and harassment of Plaintiff.

    28. Defendants PRINCETON UNIVERSITY, JOHN DOES 1-10 (said names being fictitious,

real names unknown) and ABC ENTITIES 1-10 (said names being fictitious, real names

unknown), discriminated against Plaintiff on the basis of her religion in violation of Section 703(a)

of Title VII, 42 U.S.C. § 2000e-2(a).



                                    SECOND CAUSE OF ACTION

              RETALIATION IN VIOLATION OF TITLE VII BASED ON RELIGION


    29. Plaintiff hereby repeats and realleges the allegations in each of the preceding paragraphs

as if fully set forth herein.

    30. Defendant has violated the Title VII by subjecting Plaintiff to retaliation for her protected

complaints and opposition to Defendant’s discriminatory COVID-19 policies on the basis of her

religious beliefs, inter alia, denying Plaintiff’s request for a religious exemption to the policy and

ultimately terminating Plaintiff.

    31. As a direct and proximate result of Defendant PRINCETON UNIVERSITY’s unlawful

retaliatory conduct in violation of Title VII, Plaintiff has suffered and continues to suffer monetary

and/or economic damages, including, but not limited to, loss of past and future income,

compensation and benefits for which she is entitled to an award of monetary damages and other

relief.
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    32. As a direct and proximate result of Defendant PRINCETON UNIVERSITY’s unlawful

retaliatory conduct in violation of Title VII, Plaintiff has suffered and continues to suffer severe

mental anguish and emotional distress, including, but not limited to, stress and anxiety, loss of

self-esteem and self-confidence, and emotional pain and suffering for which she is entitled to an

award of monetary damages and other relief.

    33. Defendant PRINCETON UNIVERSITY’s unlawful retaliatory conduct constitutes a

willful and wanton violation of Title VII, was outrageous and malicious, was intended to injure

Plaintiff, and was done with conscious disregard of Plaintiff’s civil rights, entitling Plaintiff to an

award of punitive damages.



                                    THIRD CAUSE OF ACTION

     VIOLATION OF THE NEW JERSEY LAW AGAINST DISCRIMINATION BASED ON
                            PLAINTIFF’S RELIGION


    34. Plaintiff hereby repeats and realleges the allegations in each of the preceding paragraphs

as if fully set forth herein.

    35. Plaintiff’s religion is a protected class under NJLAD.

    36. Defendants have discriminated against Plaintiff in violation of the New Jersey Law Against

Discrimination by subjecting her to disparate treatment because of her religion, by, inter alia,

denying her a religious exemption to Defendant’s COVID-19 policies.

    37. Defendants PRINCETON UNIVERSITY, JOHN DOES 1-10 (said names being fictitious,

real names unknown) and ABC ENTITIES 1-10 (said names being fictitious, real names unknown)

treatment of Plaintiff was wrongful and discriminatory in nature, violated the provisions set forth

in NJLAD, N.J.S.A. 10:5-1, et seq.
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   38. As a direct and proximate result of the defendants PRINCETON UNIVERSITY, JOHN

DOES 1-10 (said names being fictitious, real names unknown), and ABC ENTITIES 1-10 (said

names being fictitious, real names unknown), unlawful discriminatory conduct in violation of

NJLAD, Plaintiff has suffered and continues to suffer financial and economic damages as well as

severe mental anguish and emotional distress.

   39. Defendants’ unlawful discriminatory conduct constitutes a willful and wanton violation of

NJLAD, was outrageous and malicious, was intended to injure Plaintiff, and was done with

reckless indifference to Plaintiff’s civil rights, entitling Plaintiff to an award of punitive damages.

                                 FOURTH CAUSE OF ACTION

 NEW JERSEY LAW AGAINST DISCRIMINATION UNLAWFUL RETALIATION BASED
                      ON PLAINTIFF’S RELIGION

   40. Plaintiff repeats and realleges each and every allegation of the within paragraphs of this

Complaint as if set forth at length herein.

   41. Defendants have violated the New Jersey Law Against Discrimination by subjecting

Plaintiff to retaliation for her protected complaints and opposition to Defendant’s discriminatory

actions on the basis of her religion by, inter alia, denying her request for a religious exemption to

Defendant’s COVID-19 policies and ultimately terminating Plaintiff.

   42. Defendants’ treatment of Plaintiff was wrongful and discriminatory in nature, violated the

provisions set forth in NJLAD, N.J.S.A. 10:5-1, et seq.

   43. As a direct and proximate result of the defendants PRINCETON UNIVERSITY, JOHN

DOES 1-10 (said names being fictitious, real names unknown), and ABC ENTITIES 1-10 (said

names being fictitious, real names unknown), unlawful discriminatory conduct in violation of

NJLAD, Plaintiff has suffered and continues to suffer financial and economic damages as well as

severe mental anguish and emotional distress.
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   44. Plaintiff has been severally injured as a result of such retaliation that she has suffered, and

continues to suffer, severe emotional distress, and other such damages.

                                  FIFTH CAUSE OF ACTION

         VIOLATION OF GENETIC INFORMATION NONDISCRIMINATION ACT

   45. Plaintiff repeats and realleges each and every allegation of the within paragraphs of this

Complaint as if set forth at length herein.

   46. Defendants implemented COVID-19 policies to all employees, regardless of vaccination

status, including mandating asymptomatic testing with saliva samples, a masking requirement, and

contact tracing.

   47. Plaintiff objected to undergoing the COVID-19 testing procedures due to the tests

collecting genetic information in violation of GINA.

   48. Defendants have violated the Genetic Information Nondiscrimination Act by subjecting

Plaintiff to retaliation for her protected complaints and opposition to Defendant’s unlawful

collection of genetic information.

   49. Defendants’ treatment of Plaintiff was wrongful and discriminatory in nature, violated the

provisions set forth in 42 U.S.C. §2000ff-1(a)-(b).

   50. As a direct and proximate result of the defendants PRINCETON UNIVERSITY, JOHN

DOES 1-10 (said names being fictitious, real names unknown), and ABC ENTITIES 1-10 (said

names being fictitious, real names unknown), unlawful discriminatory conduct in violation of

NJLAD, Plaintiff has suffered and continues to suffer financial and economic damages as well as

severe mental anguish and emotional distress.

   51. Plaintiff has been severally injured as a result of such retaliation that she has suffered, and

continues to suffer, severe emotional distress, and other such damages.
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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

Defendant, containing the following relief:

       A. An award of damages in an amount to be determined at trial, plus prejudgment interest,

           to compensate Plaintiff for all monetary and/or economic damages, including, but not

           limited to, the loss of past and future income, wages, compensation, job security and

           other benefits of employment;

       B. An award of damages in an amount to be determined at trial, plus prejudgment interest,

           to compensate Plaintiff for all non-monetary and/or compensatory damages, including,

           but not limited to, compensation for her severe mental anguish and emotional distress,

           humiliation, depression, embarrassment, stress and anxiety, loss of self-esteem, self

           confidence and personal dignity, and emotional pain and suffering and any other

           physical or mental injuries;

       C. An award of damages in an amount to be determined at trial, plus prejudgment interest,

           to compensate Plaintiff for harm to her professional and personal reputation and loss

           of career fulfillment;

       D. An award of damages for any and all other monetary and/or non-monetary losses

           suffered by Plaintiff in an amount to be determined at trial, plus prejudgment interest;

       E. An award of punitive damages;

       F. An award of costs that Plaintiff has incurred in this action, as well as Plaintiff’s

           reasonable attorneys’ fees to the fullest extent permitted by law; and

       G. Such other and further relief as the Court may deem just and proper.
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                                       JURY DEMAND

      Plaintiff hereby demands a trial by jury as to all issues.


                                             VLASAC & SHMARUK, LLC

                                       By: __/s/ David E. Cassidy, Esq.___
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Dated: August 16, 2022                     Attorneys for Plaintiff
